Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 1 of 13




                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

                          CASE NO. _____________________________________

  EXPRESS HOMEBUYERS USA, LLC         )
                                      )
        Plaintiff,                    )
                                      )
  v.                                  )
                                      )
  WBH MARKETING, INC.                 )
                                      )
        Defendant.                    )
  ____________________________________)

     EXPRESS HOMEBUYERS USA, LLC’S EMERGENCY MOTION TO ENFORCE
   SUBPOENA AND TO COMPEL WITH INCORPORATED MEMORANDUM OF LAW

                             INTRODUCTION AND RELIEF REQUESTED

           Plaintiff Express Homebuyers USA, LLC (“EHB”) respectfully moves on an expedited

  and emergency basis to compel non-party Howard Gordon (“Mr. Gordon”) to produce all

  documents responsive to a Subpoena Duces Tecum (the “Subpoena”)1 that was validly served on

  him on December 8, 2017.2 Specifically, (1) Mr. Gordon waived all objections to the Subpoena;

  (2) alternatively, Mr. Gordon waived the attorney-client privilege with respect to a subset of

  documents referenced in a late-produced privilege log3; or, (3) even if there was no waiver, the

  privilege log generated by Mr. Gordon’s counsel confirms that many documents have been



           1
                    The Subpoena is attached hereto as Exhibit 1.

           2
                    See Affidavit of Service attached hereto as Exhibit 2.
           3
                     The privilege log is attached hereto as Exhibit 3. EHB has requested that the privilege log be filed
  under seal in light of Mr. Gordon’s counsel’s blanket designation of Mr. Gordon’s entire production to be considered
  “highly confidential.” EHB has not agreed to that designation, but has afforded Mr. Gordon’s counsel additional time
  to make good faith designations. Out of an abundance of caution, this motion, and certain exhibits (Exhibits 3, 12,
  and 13) are being filed under seal. A redacted form of this motion will be filed on the public docket.

                                                         DUANE MORRIS LLP
                             200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 2 of 13




  improperly withheld on the basis of some unidentified privilege. EHB therefore requests the

  following relief:

           that this matter be considered as an emergency and ruled upon on an expedited basis
            because discovery in the underlying action, pending in the Eastern District of Virginia,
            closes on February 8, 2018;

           that this Court permit the filing of an unredacted version of this motion to compel as
            well as Exhibits 3, 12, and 13 under seal pursuant to a protective order filed in the
            United States District Court, Eastern District of Virginia4;

           that Mr. Gordon be compelled to produce (a) all documents improperly withheld on the
            basis of privilege, or alternatively, (b) the subset of documents to which no privilege
            attaches or those improperly designated as protected by some unidentified privilege;
            and

           that Mr. Gordon be compelled to sit for a deposition of not more than three hours so
            that EHB may properly examine him on the wrongfully withheld documents.

                                                   MEET AND CONFER

          EHB conferred with Mr. Gordon’s counsel by way of email communications on January 5

  and January 6, 2018 and by letter dated January 19, 2018. The January 19 letter is attached hereto

  as Exhibit 4. On January 22, Mr. Gordon’s counsel stated that he would contact EHB’s counsel

  regarding the privilege issues set forth in the January 19 letter and that are set forth below. That

  same day, EHB’s counsel requested a response by the close of business on January 23. However,

  Mr. Gordon’s counsel has not responded to the issues raised in EHB’s January 19 letter. EHB has

  acted expeditiously and in good faith to resolve the issues raised herein. Those efforts were not

  successful, thereby requiring this motion to compel.




          4
                    EHB is separately filing a Motion to Seal. Such materials have been redacted in this Motion pending
  the Court’s ruling on the Motion. Likewise, Exhibits 3, 12, and 13 have not been filed as those documents could
  arguably be considered “highly confidential” at this point in light of Mr. Gordon’s counsel’s blanket confidentiality
  designation.

                                                         DUANE MORRIS LLP
                             200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                     2
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 3 of 13




                                                    BACKGROUND

         EHB is the plaintiff in an action to cancel the trademarks “we buy houses” and

  webuyhouses.com. That action is pending in the United States District Court, Eastern District of

  Virginia, which is captioned as: Express Homebuyers USA, LLC v. WBH Marketing, Inc., Civ.

  Action No. 1:17-cv-736-TSE-IDD (the “Trademark Action”). One of EHB’s allegations is that

  the trademarks “we buy houses” and webuyhouses.com were registered as a result of fraudulent

  representations made to the PTO by, among other individuals, Mr. Gordon. Discovery has indeed

  confirmed that Mr. Gordon, and at least one other declarant, made false representations to the PTO

  or, at the very least, made misleading statements and otherwise omitted material facts from their

  submissions to the PTO.

         After being served with the Subpoena on December 8, 2017, Mr. Gordon did not respond

  in any way until EHB’s attorneys contacted him on December 29—three weeks after being

  properly served—to schedule his deposition. See Exh. 5. Mr. Gordon responded that day and

  stated that he could not be deposed on the originally-noticed date (January 11), and advised that

  he was represented by counsel—John C. Malloy, Esq.—in connection with the Subpoena. See

  Exh. 6. Mr. Gordon further stated: “I do have documents to turn over to you.” See Exh. 15. At

  that time, Mr. Gordon did not object to producing a single document, nor did he indicate that he

  wanted to review those documents with counsel to determine whether any privilege applied. See

  Exhs. 6, 15.

         Similarly, Mr. Gordon’s counsel did not lodge any objections to the Subpoena in his initial

  communication with EHB counsel, and he did not assert any privilege when EHB’s counsel first

  contacted him. On January 4, almost one month after the subpoena was served, Mr. Gordon’s

                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 3
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 4 of 13




  counsel represented that he had no knowledge whether Mr. Gordon would produce any documents.

  See Exh. 7. The next day (January 5), Mr. Gordon’s attorney informed EHB’s counsel that Mr.

  Gordon had “dusty boxes of documents to produce.” See Exh. 8. He further stated that he would

  unilaterally remove from that production any documents he deemed to be privileged without

  providing a log or any objections based on privilege. Id.5 Mr. Gordon’s counsel further requested

  EHB’s consent to read a privilege log into the record. Id. EHB’s counsel, however, did not consent

  to that request, but offered to provide Mr. Gordon additional time to review and produce

  documents. See Exh. 9. Mr. Gordon, however, declined that additional time and insisted (without

  any explanation) that his deposition take place on January 9. See Exh. 10. At that point, EHB

  informed Mr. Gordon’s counsel that Mr. Gordon waived all objections—including privilege—

  under Rule 45.6 See Exh. 11.

                REQUEST FOR EXPEDITED AND EMERGENCY TREATMENT

          EHB requests expedited and emergency treatment because the discovery deadline in the

  Trademark Action is fast-approaching. As set forth above, the Trademark Action is pending in

  the Eastern District of Virginia, a Court that is commonly referred to in legal circles as having a

  “rocket docket.” Originally, the discovery deadline in the Trademark Action was January 12,

  2018. See ECF No. 24.7 On December 1, 2017, the parties jointly requested that the discovery

  deadlines be extended by six weeks (or until February 23). ECF No. 32. The court denied that


          5
                     Mr. Gordon also requested that his entire production be deemed “highly confidential—attorney’s
  eyes only” under the Protective Order filed in the Trademark Action. EHB has not agreed to such an improper blanket
  designation because the designations violate the terms of the Protective Order. However, those designations are not
  the subject of this motion.

         6
                  EHB issued an amended Subpoena to reflect the January 9 date that Mr. Gordon’s counsel (and
  WBH) insisted upon. See Exh. 16.
          7
                   References to “ECF No.” are to the entries on the public docket in the Trademark Action.

                                                        DUANE MORRIS LLP
                            200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                    4
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 5 of 13




  request, in part, and extended discovery by only nineteen days. See ECF No. 33. The Court

  subsequently granted a second short extension of the discovery deadline to February 8 upon the

  parties’ joint motion. See ECF No. 37. It is unlikely that the court will grant a third extension

  request.

         Moreover, and as set forth below, EHB is requesting that this Court direct Mr. Gordon to

  sit for a deposition before the February 8 discovery end date. Between the date of this filing, and

  the discovery end date, the parties in the Trademark Action intend to take roughly five other

  depositions (both fact witnesses and experts). Thus, Mr. Gordon’s continued deposition must be

  scheduled and taken within the limited time remaining for discovery in the Trademark Action.

                                                      ARGUMENT

  I.     MR. GORDON WAIVED ALL OBJECTIONS TO THE SUBPOENA.

         All documents appearing on Mr. Gordon’s privilege log (see Exh. 3) should be produced

  because Mr. Gordon waived any privilege objections to the Subpoena. The Federal Rules are clear

  in that regard. Rule 45 states:

                 A person commanded to produce documents or tangible things or to permit
         inspection may serve on the party or attorney designated in the subpoena a written
         objection to inspecting, copying, testing or sampling any or all of the materials or
         to inspecting the premises—or to producing electronically stored information in the
         form or forms requested. The objection must be served before the earlier of the
         time specified for compliance or 14 days after the subpoena is served.

  Fed. R. Civ. P. 45(d)(2)(B) (emphasis added). It is well-settled that failure to timely assert an

  objection to a Subpoena waives all objections, including objections for privilege. See Ctr. for

  Individual Rights v. Chevaldina, No. 16-20905-Civ, 2017 WL 5905191, at *4 (S.D. Fla. Nov. 29,

  2017) (“The failure to serve written objections to a subpoena within the time specified by Rule

  [45(d)(2)(B)] typically constitutes a waiver of such objections, as does failing to file a timely


                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 5
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 6 of 13




  motion to quash.”); Moore v. Shapiro & Burson, LLP, No. 3:14cv832, 2015 WL 6674709, at *1

  (E.D. Va. Oct. 29, 2015) (denying non-party’s motion to quash subpoena because “objections to

  Plaintiffs’ subpoena were not timely filed under Rule 45(d)(2) of the Federal Rules of Civil

  Procedure”); Tuite v. Henry, 98 F.3d 1411, 1416 (D.C. Cir. 1996) (“a party objecting to a subpoena

  on the basis of privilege must both (1) object to the subpoena and (2) state the claim of privilege

  within fourteen days of service, as required by Rule 45(c)(2)(B)”); Ravenswood Investment Co.,

  L.P. v. Avalon Correctional Servs., Inc., No. CIV-09-70, 2010 WL 11443364, at *2 (W.D. Okla.

  May 18, 2010) (“Because Defendant did not state its claim of privilege within fourteen days of

  service of the subpoena on [its accountants], the Court concludes Defendant has waived any such

  claim.”) (quoting Tuite, 98 F.3d at 1416; citing In re DG Acquisition Corp., 151 F.3d 75, 81 (2d

  Cir. 1998)); Universal City Dev. Ptnrs, Ltd. v. Ride & Show Eng’g, Inc., 230 F.R.D. 688, 697

  (M.D. Fla. 2005) (finding that defendant “waived the attorney-client privilege” where it “failed to

  make a timely objection to the subpoena”); cf. Andrews v. CSX Transportation, Inc., Case No.

  3:06-cv-704-J-32HTS, 2009 WL 10670852, at *2 (M.D. Fla. Jan. 7, 2009) (finding plaintiffs

  “waived their objections to the document requests contained in the subpoenas” by failing to file a

  timely objection or motion for a protective order).

         Here, there is no dispute that Mr. Gordon waived any objections to the Subpoena. The

  Subpoena was served on Mr. Gordon on December 8, and he failed to object or respond in any

  way. It was not until EHB’s counsel contacted him to confirm his deposition date that he stated

  he had documents to produce and that he had retained an attorney. At no time did Mr. Gordon

  object or express concern about producing any documents. And, when his attorney contacted

  EHB’s counsel, he did not initially assert any privilege objection, and he did not request additional

  time to review and respond to the Subpoena.

                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 6
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 7 of 13




         Mr. Gordon’s attorney has stated on several occasions that Mr. Gordon is elderly and has

  health issues. EHB certainly respects and accepts that representation. But at no time did either

  Mr. Gordon, or his counsel, object to the Subpoena on the basis of any undue burden imposed by

  Mr. Gordon’s alleged age and health issues. In fact, Mr. Gordon’s counsel declined EHB’s

  invitation for more time to review documents. That strategic decision had consequences. Mr.

  Gordon and his counsel cannot have it both ways. They cannot insist on a rushed deposition, but

  then delay objecting and asserting a privilege until days after that deposition and long after the

  Subpoena was served.

  II.    EVEN IF MR. GORDON DID NOT WAIVE PRIVILEGE AS TO ALL
         DOCUMENTS ON HIS PRIVILEGE LOG, A SUBSET OF THOSE DOCUMENTS
         SHOULD BE PRODUCED BECAUSE MR. GORDON WAIVED PRIVILEGE AS
         TO THOSE DOCUMENTS.

         If Mr. Gordon did not waive his privilege objections as to all documents, he certainly did

  with respect to a subset of documents that appear on the privilege log.




  However, these facts were confirmed by Mr. Gordon’s business partner Martin Price, who recently

  testified that Mr. Gordon disclosed his attorney’s advice in connection with the sworn declaration

  (that, incidentally, contained false statements) that Mr. Price was instructed to sign. Exh. 14 (Price

                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 7
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 8 of 13




  dep.), at 137-38, 203-04, 217-18, 220-21. It is well-established that where, as here, a client

  discloses to third parties legal advice obtained from counsel, the client has waived the attorney-

  client privilege and must produce documents related to that advice. See Int’l Tel. & Tel. Corp. v.

  United Tel. Co., 60 F.R.D. 177, 185 (M.D. Fla. 1973) (“If the client chooses to disclose secrets

  within the privilege, then he waives it and cannot later insist upon his or his attorney’s silence

  based upon the privilege.”); Nwabeke v. Torso Tiger, Inc., No. 6:04CV410-ORL-18KRS, 2007

  WL 1222517, at *4 (M.D. Fla. Apr. 24, 2007) (finding any privilege waived as a result of party’s

  disclosure of the communications in support of a motion, and the party “will be required to

  disclose” the communication); Slim-Fast Foods Co. v. Brockmeyer, 627 So. 2d 104, 106 n.4 (Fla.

  Dist. Ct. App. 1993) (explaining that holders of a privilege “may waive protection by voluntary

  disclosure of privileged information to third parties”); Fla. Stat. Ann. § 90.507 (“A person who

  has a privilege against the disclosure of a confidential matter or communication waives the

  privilege if the person, or the person’s predecessor while holder of the privilege, voluntarily

  discloses . . .any significant part of the matter or communication.”). Accordingly, Mr. Gordon

  should be ordered to produce the following documents listed on his privilege log (Exh. 3):

  Attorney Client Folder – John Malloy: 16-23 and 67-79.

  III.   EVEN IF MR. GORDON HAS NOT WAIVED PRIVILEGE, MR. GORDON IS
         IMPROPERLY WITHHOLDING DOCUMENTS.

         Even if Mr. Gordon’s objections were properly preserved, many documents are being

  improperly withheld, as made clear by the privilege log he served after his deposition.

         First, the privilege log itself is deficient and not in accordance with the local rules because

  it fails to indicate the nature of the privilege asserted. See S.D. Fla. L. R. 26.1(e)(2)(B);

  Maplewood Partners, L.P. v. Indian Harbor Ins. Co., 295 F.R.D. 550, 584 (S.D. Fla. 2013)


                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 8
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 9 of 13




  (explaining that Federal courts applying Florida law as to privilege “have rejected blanket claims

  of attorney-client privilege and have required that specific detail as to the content of documents

  and their authors and recipients be provided”); CSX Transp. Inc. v. Admiral Ins. Co., No. 93-132-

  CIV-J-10, 1995 WL 855421, at *3 (M.D. Fla. July 20, 1995) (finding privilege log inadequate

  where it contained conclusory statements and only general descriptions). Rather, the privilege log

  simply lists documents contained in various “Attorney Client” Folders. The relationship with Mr.

  Gordon and counsel is not described, nor is the nature of the privilege he purports to assert. It is

  axiomatic that the attorney-client privilege and work product doctrine do not extend to underlying

  facts. Geico Cas. Co. v. Beauford, No. 805-CV-697-24EAJ, 2006 WL 2789013, at *6 (M.D. Fla.

  Sept. 26, 2006) (“The work product privilege only protects documents and tangible things that

  might reveal the attorney's thought process, but it does not protect the underlying facts obtained

  through trial preparation.”); In re Alexander Grant & Co. Litig., 110 F.R.D. 545, 548 (S.D. Fla.

  1986) (“the attorney-client privilege does not protect disclosure of underlying facts”). Thus, just

  because documents may be in a so-called “attorney folder” does not render those documents

  automatically privileged.

         Second, several documents listed on the privilege log are clearly non-privileged and should

  be produced immediately. Several entries in Mr. Gordon’s privilege log describe documents that,

  on their face, were communicated between and among business people and do not implicate any

  sort of attorney-client communication or attorney work product.                                        Specifically, documents

  identified by the following numbers fail to indicate any applicable privilege (Exh. 3): Attorney

  Client Folder – Other Counsel: 18, 19, 21, 23; Attorney Client Folder – Stephen Kolski: 2, 13, 18,

  20, 22, 24, 25, 27, 29, 32, 33; Attorney Client Folder – John Malloy: 26, 27, 67, 68, 70, 72, 73, 77,

  79.

                                                     DUANE MORRIS LLP
                         200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 9
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 10 of 13




          Third, to the extent Mr. Gordon asserts an attorney-client or work product privilege (again,

   the nature of the privilege asserted is not identified), certain documents include communications

   with third parties who, based on Mr. Gordon’s counsel’s representations to EHB’s attorneys, are

   not clients of any identified attorneys. See, e.g., Tyne v. Time Warner Entm't Co., L.P., 212 F.R.D.

   596, 598 (M.D. Fla. 2002) (citing Fla. Stat. § 90.502 (1) (c) and explaining that “[u]nder Florida

   law, information is protected from disclosure by the attorney-client privilege when it is a

   communication between a lawyer and client not intended to be disclosed to third persons other

   than those to whom disclosure is in furtherance of the rendition of legal services, or those

   reasonably necessary for the transmission of the communication.”).

          Therefore, the following documents should be produced immediately (Exh. 3): Attorney

   Client Folder – Other Counsel: 1, 10, 11, 12, 14, 20; Attorney Client Folder – Stephen Kolski: 3,

   4, 6, 7, 8, 17, 52 (no attorney is identified); Attorney Client Folder – John Malloy: 83.

   IV.    MR. GORDON SHOULD BE COMPELLED TO SIT FOR DEPOSITION SO THAT
          EHB HAS A FAIR AND ADEQUATE OPPORTUNITY TO EXAMINE HIM ON
          THE WRONGFULLY WITHHELD DOCUMENTS.

          When Mr. Gordon was deposed on January 9, 2018, EHB counsel went through the three

   boxes of documents that Mr. Gordon brought to the deposition to determine which documents to

   use. However, Mr. Gordon’s counsel had already removed from the boxes the documents

   referenced in this motion, thereby preventing EHB from having a full and fair opportunity to

   examine Mr. Gordon. Accordingly, EHB respectfully requests that the Court order Mr. Gordon to

   sit for deposition so that counsel can examine Mr. Gordon regarding the documents that were

   wrongfully withheld. EHB agrees to limit that deposition to three hours. See, e.g., Nwabeke, 2007

   WL 1222517 at *4 (granting motion to compel party to disclose document previously alleged to

   be protected by attorney-client privilege, and to “appear at a reopened deposition to answer the

                                                      DUANE MORRIS LLP
                          200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                 10
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 11 of 13




   questions to which he previously asserted the attorney-client privilege”); SE Prop. Holdings, LLC

   v. GulfSouth Private Bank, No. 3:13CV6/MCR/CJK, 2015 WL 12868077, at *3 (N.D. Fla. Feb.

   27, 2015) (granting motion to compel the production of documents alleged to be privileged, and

   allowing additional deposition time to cover the documents ordered to be produced).

                                                          CONCLUSION

            For the foregoing reasons, this Court should grant, on an expedited8 basis, Express

   Homebuyers USA, LLC’s emergency motion to compel and order Mr. Gordon to produce all

   documents in his possession in response to the Subpoena. In the alternative, this Court should

   order production of the documents identified in the above-referenced categories and order Mr.

   Gordon to sit for deposition so that counsel has a full and fair opportunity to examine Mr. Gordon

   on the wrongfully withheld documents. As set forth above, EHB and Mr. Gordon’s counsel have

   attempted to meet and confer on privilege issues raised in this motion.

                                          L.R. 7.1(A)(3) CERTIFICATION

            Counsel for Express Homebuyers USA, LLC, certifies that his firm has conferred with

   counsel for Howard Gordon in a good faith effort to resolve the issues raised in this motion and,

   as described above, has been unable to do so.




             8
                       Undersigned counsel has certified that this matter is a true emergency. Attached hereto as Exh. 17
   is a Certification of Emergency.

                                                          DUANE MORRIS LLP
                              200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                     11
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 12 of 13




          Dated: January 25, 2018

                                                                     DUANE MORRIS LLP
                                                                     200 South Biscayne Boulevard, Suite 3400
                                                                     Miami, Florida 33131
                                                                     Telephone: 305.960.2200
                                                                     Facsimile: 305.397.1874


                                                                     /s/ Harvey W. Gurland, Jr.
                                                                     Harvey W. Gurland, Jr.
                                                                     Florida Bar No. 284033
                                                                     HWGurland@duanemorris.com
                                                                     pnmendoza@duanemorris.com
                                                                     nmcastillo@duanemorris.com

                                                                     -and-

                                                                     John J. Zefutie, Jr., Esq.
                                                                     (pro hac vice to be filed)
                                                                     Duane Morris LLP
                                                                     One Riverfront Plaza
                                                                     1037 Raymond Boulevard, Suite 1800
                                                                     Newark, New Jersey 07102-5429
                                                                     Tel: 973.424.2039
                                                                     Fax: 973.556.1499
                                                                     jjzefutie@duanemorris.com

                                                                     Counsel for Express Homebuyers USA, LLC


                                          CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

   via electronic mail, this 25th day of January, 2018, on all counsel or parties of record on the Service

   List below.


                                                              /s/ Harvey W. Gurland, Jr.
                                                              Harvey W. Gurland, Jr.




                                                       DUANE MORRIS LLP
                           200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                                  12
Case 0:18-cv-60166-WPD Document 1 Entered on FLSD Docket 01/25/2018 Page 13 of 13




                                                 SERVICE LIST

        Joshua Counts Cumby, Esq.
        Damon W.D. Wright, Esq.
        Venable LLP
        600 Massachusetts Ave., NW
        Washington, D.C. 20001
        dwdwright@venable.com
        jccumby@venable.com
        Counsel for WBH Marketing, Inc.

        John Cyril Malloy III
        Malloy & Malloy, P.L.
        2800 SW 3rd Avenue
        Miami, Florida 33129
        jcmalloy@malloylaw.com
        Counsel for Howard Gordon




                                                  DUANE MORRIS LLP
                      200 South Biscayne Boulevard · Suite 3400 · Miami · Florida 33131 ·Tel: 305.960.2200


                                                             13
